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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          Case No. 15-21450-Civ-COOKE/TORRES

  ARISTA RECORDS LLC, et al.,

         Plaintiffs,

  vs.

  MONICA VASILENKO, et al.,

        Defendants.
  __________________________________________/
                                            ORDER
         THIS MATTER is before the Court on Non-Party Cloudflare, Inc.’s (“Cloudflare”)
  Rule 60(b) Motion to Vacate the Court’s March 23, 2017 Order (ECF No. 49).
         By way of brief background, Plaintiffs and Cloudflare have disputed whether the
  Court’s Amended Default Final Judgment and Permanent Injunction (ECF No. 37) applied
  to Cloudflare. Plaintiffs previously brought a motion for clarification that the injunction
  applied to Cloudflare as acting “in active concert or participation” with Defendants by
  providing Internet security, DNS nameserver, and website optimization services. See ECF
  No. 38. Cloudflare opposed the motion, arguing that the application of any injunction to
  Cloudflare must conform to the limitations of section 512(j) of the Digital Millennium
  Copyright Act, 17 U.S.C. § 512(j). See ECF No. 42. Cloudflare also argued that it must have
  an opportunity to be heard before an injunction applies to it. Id. The Court granted in part
  and denied in part Plaintiffs’ motion, clarifying that section 512(j) “does not blunt a court’s
  power to enforce a permanent injunction involving non-parties such as CloudFlare that may
  be ‘in active concert or participation’ with Defendants” pursuant to Rule 65(d) of the
  Federal Rules of Civil Procedure. See ECF No. 48 at 3. The Court denied Plaintiffs’ request
  for a further ruling that the injunction applied to Cloudflare, however, concluding that it
  could not determine whether Cloudflare was “in active concert or participation” with the
  enjoined Defendants without notice to Cloudflare and an opportunity to be heard before
  such a determination. Id. at 4-5. The Court indicated that the parties could file motions at

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  the appropriate time for such a determination. Id. Afterwards, because the Defendants
  appeared to have ceased their use of Cloudflare’s service, Plaintiffs indicated that they did
  not intend to pursue the matter further.
         Cloudflare then filed a motion to vacate the Court’s order on the ground that the
  Plaintiff’s motion for clarification had become moot before the Court issued its order on that
  motion because at that time no Defendant was using its services. ECF No. 51. The Court
  heard arguments on the motion and denied it without prejudice, urging the parties to
  negotiate a process by which Cloudflare might address the potential for application of the
  injunction if Plaintiffs were to identify any violations of the injunction by Defendants in
  connection with their use of Cloudflare’s services. ECF No. 61. To that end, and for the
  purpose of resolving this matter and for no other purpose, Plaintiffs and Cloudflare have
  agreed, and the Court hereby ORDERS and ADJUDGES as follows:
         (1)    If Defendants engage in enjoined activities and use any Cloudflare service in
  connection with those activities, Plaintiffs may seek from the Court an amendment to the
  Amended Final Default Judgment and Permanent Injunction (ECF No. 37) to specify the
  websites or domain names that Plaintiffs believe that Defendants are using to conduct their
  enjoined activities. Plaintiffs may seek such an amendment as an emergency motion, and
  the Court may treat it as such, without regard to the filing requirements of Local Rule 7(d),
  so long as Cloudflare has an opportunity to respond (if it desires). At least two court days
  before filing any motion that they intend to apply to Cloudflare, however, Plaintiffs shall
  notify and confer with Cloudflare regarding the motion. Within two court days after
  Plaintiffs file any such motion, Cloudflare shall inform the Court whether it intends to
  respond to the motion and, if it intends to so respond, it shall file such a response within one
  week of the motion.
         (2)    Plaintiffs may request in such an amendment a specific direction to
  Cloudflare to cease providing services to websites at specified domains without needing to
  show that Cloudflare is in active concert or participation with the Defendants with respect
  to such services. Similar to the provisions in the Amended Final Default Judgment and
  Permanent Injunction that apply to domain name registrars and registries (ECF No. 37 at
  ¶ 5), upon receipt of notice of the Court’s issuance of such an amendment to the injunction,
  Cloudflare shall, to the extent it has not already done so, promptly, and in all events within

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  not more than twenty-four (24) hours or one full business day, whichever is longer, cease
  providing services to the specified websites or domains. For the sake of clarity, the Court's
  direction to Cloudflare shall be pursuant to its authority under the All Writs Act, 28 U.S.C.
  § 1651, and is not a finding that Cloudflare is “in active concert or participation” with
  Defendants as provided in Rule 65(d) of the Federal Rules of Civil Procedure.
         DONE and ORDERED in chambers, at Miami, Florida, this 26th day of April 2018.




  Copies furnished to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of record




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